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   16
                                      UNITED STATES DISTRICT COURT
   17
                                   CENTRAL DISTRICT OF CALIFORNIA
   18

   19     IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668−PSG (SKx)
   20
          LEAGUE’S “SUNDAY TICKET”                        NFL DEFENDANTS’ MOTION IN
          ANTITRUST LITIGATION                            LIMINE NO. 7 TO EXCLUDE
   21     ______________________________                  CERTAIN TESTIMONY FROM
                                                          EINER ELHAUGE
   22
          THIS DOCUMENT RELATES TO:                       Judge: Hon. Philip S. Gutierrez
   23                                                     Date: February 7, 2024
          ALL ACTIONS
   24                                                     Time: 2:30 p.m.
                                                          Courtroom: First Street Courthouse
   25
                                                                     350 West 1st Street
   26                                                                Courtroom 6A
                                                                     Los Angeles, CA 90012
   27

   28
         Case No. 2:15-ml-02668-PSG (SKx)        NFL Defendants’ Motion In Limine No. 7 To Exclude Certain Testimony
                                                 From Einer Elhauge
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    1           Einer Elhauge—one of Plaintiffs’ rebuttal experts—is a law professor. He
    2   submitted a report in this case that purports to respond to the economic analysis of
    3   Defendants’ expert Dr. Douglas Bernheim, who is an economics professor at
    4   Stanford. This motion does not seek to exclude Mr. Elhauge’s testimony based on
    5   economic analysis. But his report is not limited to such testimony. Instead, his report
    6   indicates that Mr. Elhauge intends to impermissibly rely on his status as a law
    7   professor to (i) invade the province of the trial court by attempting to explain the law
    8   to the jury; and, worse, (ii) confuse the jury by erroneously heightening the burden
    9   of proof on the defense. For example, Mr. Elhauge should not be permitted to opine
   10   that
   11

   12                                                              Indeed, the Court should prohibit
   13   Mr. Elhauge from offering any legal testimony under Rules 402, 403, and 702.
   14   I.      The Elhauge Report Invades The Province Of The Trial Court By
   15
                Attempting To Explain The Law To The Jury.

   16           “‘[I]nstructing the jury as to the applicable law is the distinct and exclusive
   17   province of the court.’” Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523 F.3d
   18   1051, 1058 (9th Cir. 2008) (quoting Hangarter v. Provident Life & Accident Ins. Co.,
   19   373 F.3d 998, 1016 (9th Cir. 2004)). Any attempt by an expert to opine on legal
   20   principles is both unhelpful to the jury, Fed. R. Evid. 702(a), and may conflict with
   21   the instructions given by the trial court, Nationwide, 523 F.3d at 1059.
   22           Mr. Elhauge repeatedly has attempted to offer legal testimony as a law
   23   professor, and courts repeatedly have reminded him that he “is precluded from
   24   offering his opinion regarding the law that governs this case and federal anti-trust
   25   law.” Pinal Creek Grp. v. Newmont Mining Corp., 352 F. Supp. 2d 1037, 1046 (D.
   26   Ariz. 2005); see also Sitts v. Dairy Farmers of Am., Inc., 2020 WL 3467993, at *5
   27   (D. Vt. June 24, 2020) (excluding opinions from Mr. Elhauge that “are inadmissible
   28   because they usurp the function of the court as well as the role of the jury”).
                                                     1
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    1              The same rules require limitations on his opinions here. Mr. Elhauge’s rebuttal
    2   report repeatedly crosses the line from proper expert testimony to inadmissible legal
    3   instruction. See generally ECF No. 962-29, Expert Rebuttal Report of Einer Elhauge,
    4   dated June 9, 2023 (“Rebuttal Rep.”). To give just a few examples:
    5           In paragraphs 20–21 of his report, Mr. Elhauge offers opinions on how the
    6

    7

    8           In paragraph 21, Mr. Elhauge offers opinions on
    9

   10           In paragraph 24, Mr. Elhauge offers the opinion that
   11

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   13

   14             In paragraphs 24, 26, and 44, Mr. Elhauge offers opinions on the legal
   15              standards applicable to the construction of a but-for world.
   16   These points are exemplary, not exhaustive.1 They demonstrate that substantial
   17   portions of Mr. Elhauge’s report “read[] like a legal brief,” and thus fall squarely
   18   within Nationwide’s prohibition. See Haas v. Travelex Ins. Servs. Inc., --- F. Supp.
   19   3d. ----, 2023 WL 4281248, at *4 (C.D. Cal. June 27, 2023); see also KB Home v. Ill.
   20   Union Ins. Co., 2023 WL 3432139, at *5 (C.D. Cal. Mar. 28, 2023) (excluding
   21
        1
   22    Indeed, legal claims can be found throughout Mr. Elhauge’s report. See, e.g., ECF No. 962-29,
        Rebuttal Rep. ¶ 45 n.15 (
   23                             ; ¶ 69 (
                   ); ¶ 73 & n.32 (
   24
                                                                 ). He repeated these legal claims at his
   25   deposition. E.g., Pastan Decl. Ex. 9, Elhauge Dep. Tr. 43:11–44:12, 45:15–23, 46:9–16, 108:1–15,
        110:14–111:10 (                                                                     ); 121:5–16,
   26   124:11–128:13, 131:7–137:22 (
                               ); 165:20–174:8 (
   27                     ); 204:1–205:7 (
   28             ); 233:13–234:13, 236:18–22 (
                     ).
                                                        2
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    1   purported expert testimony that focused on “his views on the law governing this case
    2   . . . [which] would usurp the Court’s role in determining the law that applies to the
    3   case”); SA Music LLC v. Apple, Inc., 592 F. Supp. 3d 869, 902 (N.D. Cal. 2022)
    4   (similar); Relevant Grp., LLC v. Nourmand, 2022 WL 18356631, at *2 (C.D. Cal.
    5   Dec. 9, 2022) (similar).
    6           Just as in Pinal Creek and Sitts, Mr. Elhauge should be “precluded from
    7   offering his opinion regarding the law that governs this case and federal anti-trust
    8   law.” Pinal Creek, 352 F. Supp. 2d at 1046; see also Sitts, 2020 WL 3467993, at *5.
    9   All of his legal opinions, including those detailed above, should accordingly be
   10   excluded from trial.
   11   II.     Mr. Elhauge’s Opinions Rest On Erroneous Statements Of The Law And
                Risk Substantially Misleading The Jury.
   12

   13           Mr. Elhauge not only offers improper legal opinions, he also offers incorrect
   14   legal opinions that risk substantially misleading the jury as to the burden of proof.
   15   Specifically, his report asserts that
   16

   17                                                                            This improper burden-
   18   shifting testimony should be excluded as erroneous, confusing, and prejudicial.
   19           “[A] party is not entitled to present evidence on an erroneous or inapplicable
   20   legal theory to the jury, even if the evidence might have been relevant in some
   21   conceivable manner.” Nationwide, 523 F.3d at 1063. The facts of Nationwide
   22   illustrate the application of this principle. There, the Ninth Circuit considered a
   23   district court’s decision to exclude expert testimony about a defendant’s failure to
   24   comply with a particular UCC provision. Id. The applicable law did not require the
   25   defendant to comply with the UCC provision discussed in the expert’s report, so the
   26   court held that the testimony was irrelevant. Id. at 1059, 1063. The Ninth Circuit also
   27   concluded that even if the expert testimony had some relevance to the case, its risk
   28   of confusing the issues for the jury would have substantially outweighed any
                                                     3
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    1   probative value, and the panel affirmed the decision to exclude the evidence under
    2   Rule 403. Id. at 1063. Nationwide’s reasoning applies fully to this case.
    3           As in Nationwide, several of Mr. Elhauge’s criticisms of Dr. Bernheim’s report
    4   lack probative value because they rely on a misapplication of the law. Expert opinions
    5   that improperly state the law are irrelevant, Fed. R. Evid. 401, and unhelpful to the
    6   jury, Fed. R. Evid. 702(a). See Apple, Inc. v. Samsung Elecs. Co., Ltd., 2012 WL
    7   2571332, at *7 (N.D. Cal. June 30, 2012) (Koh, J.) (excluding expert testimony that
    8   was “contrary to law, and therefore w[ould] not assist the trier of fact”); BNSF Ry.
    9   Co. v. LaFarge Sw., Inc., 2009 WL 4279771, at *5 (D.N.M. Feb. 12, 2009) (similar);
   10   In re Dealer Mgmt. Sys. Antitrust Litig., 581 F. Supp. 3d 1029, 1063 (N.D. Ill. 2022)
   11   (similar).
   12           Mr. Elhauge’s proposed testimony exemplifies the kind of legally erroneous
   13   and misleading testimony that the Nationwide doctrine is designed to exclude. In
   14   particular, he repeatedly faults Dr. Bernheim
   15

   16

   17                     See ECF No. 962-29, Rebuttal Rep. ¶ 14 (critiquing Dr. Bernheim
   18   because he purportedly “
   19

   20                                                                                                      ”); id.
   21   ¶¶ 15, 48, 51, 61 (similar); see also Pastan Decl. Ex. 9, Elhauge Dep. Tr. 146:6–13,
   22   147:15–23, 148:7–20, 229:15–230:25.
   23           These criticisms misstate the law: An antitrust defendant bears no burden to
   24   quantify the procompetitive effects of its behavior—let alone to affirmatively prove
   25   that its conduct has a net positive effect on competition. See Epic Games, Inc. v.
   26   Apple, Inc., 67 F.4th 946, 983, 985–86 (9th Cir. 2023). To the contrary, under the
   27   Rule of Reason’s burden-shifting framework, if a plaintiff carries its initial burden
   28   “to prove that the challenged restraint has a substantial anticompetitive effect that
                                                     4
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    1   harms consumers in the relevant market,” id. at 983 (internal quotations and citation
    2   omitted), then the defendant’s only burden is “to show a procompetitive rationale for
    3   the restraint[],” id. at 985–86 (internal quotations and citations omitted) (emphasis
    4   added). The burden then shifts back to the plaintiff to prove that the same
    5   procompetitive benefits can be achieved through “substantially less restrictive
    6   means,” as “a business practice without a less restrictive alternative is not, on balance,
    7   anticompetitive.” Id. at 990, 993–94.
    8           Mr. Elhauge’s analysis flips the Rule of Reason on its head:
    9

   10                                              Thus, as in Nationwide, this criticism lacks
   11   probative value because “a party is not entitled to present evidence on an erroneous
   12   or inapplicable legal theory to the jury.” 523 F.3d at 1063. And because these
   13   criticisms rely on a faulty application of a defendant’s burden of proof under the Rule
   14   of Reason, they are irrelevant, see Fed. R. Evid. 401, and will not help the jury to
   15   decide this case, see Fed. R. Evid. 702.
   16           Rather, like the legally erroneous expert testimony in Nationwide, the flawed
   17   legal reasoning in the Elhauge Report poses a substantial risk of confusing the issues
   18   for the jury. See, e.g., Nationwide, 523 F.3d at 1063; Yerkes v. Ohio State Highway
   19   Patrol, 2023 WL 4633896, at *13 (S.D. Ohio July 20, 2023) (excluding expert
   20   testimony that “flips th[e] established burden of proof by insinuating that [an
   21   opposing] expert has an obligation” where that is not correct). This testimony
   22   accordingly should be excluded because the risk of confusing the issues for the jury
   23   substantially outweighs any probative value offered by Elhauge’s legally erroneous
   24   criticisms. See Fed. R. Evid. 403.
   25

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                                                     5
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    1   Dated: January 5, 2024              Respectfully submitted,

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